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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                      Case Number 8:06CR83-002

                                                        USM Number 20635-047

SALWA ALI GUSTAFSON
                 Defendant
                                                        CARLOS A. MONZON

                                                        Defendant’s Attorney
___________________________________

                                 JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT was found guilty on counts I through V of the Indictment after a plea of not guilty on
March 27, 2007.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                              Date Offense               Count
           Title, Section & Nature of Offense                  Concluded               Number(s)


 26:7201 ATTEMPT TO EVADE OR DEFEAT TAX                     April 15, 1999                   I

 26:7201 ATTEMPT TO EVADE OR DEFEAT TAX                     April 15, 2000                  II

 26:7201 ATTEMPT TO EVADE OR DEFEAT TAX                     April 15, 2001                 III

 72:7203 WILLFUL FAILURE TO FILE                            April 15, 2000                 IV
 RETURN/INFORMATION, ETC.

 26:7203 WILLFUL FAILURE TO FILE                            April 15, 2001                  V
 RETURN/INFORMATION, ETC.

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice
of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall
notify the court and United States attorney of any material change in the defendant’s economic
circumstances.

                                                                       Date of Imposition of Sentence:
                                                                                   September 7, 2007

                                                                             s/ Lyle E. Strom
                                                                    Senior United States District Judge

                                                                             September 20, 2007
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                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of thirty (30) months as to Counts I, II and III of the Indictment and for a term
of twelve (12) months as to Counts IV and V of the Indictment. Said terms of imprisonment shall
run concurrently.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated in a federal facility at FPC Yankton, Yankton, South
        Dakota.

2.      Defendant shall be given credit for time served in federal custody pending disposition of this
        matter.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons as notified by the United States Marshal within sixty (60) days following the completion of
imprisonment of Mark A. Gustafson (8:06CR83).


                                 ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                                 _____________________________
                                                                         Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                          __________________________________
                                                                 UNITED STATES WARDEN


                                                       By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                          __________________________________
                                                                 UNITED STATES WARDEN


                                                       By:__________________________________
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                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3)
years as to Counts I, II and III of the Indictment and for a term of one (1) year as to Counts IV and
V of the Indictment. Said terms of supervised release shall run concurrently.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as
with any additional conditions on the attached page.

                           STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or probation
        officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall not
        associate with any person convicted of a felony, unless granted permission to do so by the
        probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent of a
        law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal history or characteristics and shall
        permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to the
        Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of 2004), if such
        sample was not collected during imprisonment.

2.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of release on
        supervised release and at least two (2) periodic drug tests thereafter, is suspended until further order of the
        Court because the Presentence Investigation Report on the defendant and other reliable sentencing
        information indicates a low risk of future substance abuse by the defendant.

3.      The defendant shall be subject to search of the defendant’s premises, vehicle or person, day or night, with
        or without a warrant, at the request of the probation officer to determine the presence of controlled
        substances, firearms, or any other contraband. Any such items found may be seized by the probation officer.
        This condition may be invoked with or without the cooperation of law enforcement officers.

4.      The defendant shall cooperate with the Internal Revenue Service and accurately file all delinquent tax returns
        and accurately and timely file all future tax returns.

5.      The defendant shall provide the probation officer information regarding assets held in all off shore accounts.

6.      The defendant shall provide the probation officer with access to any requested personal or business financial
        information.

7.      The defendant is prohibited from incurring new credit charges or opening additional lines of credit without
        prior written approval of the probation officer.

8.      The defendant shall participate in a victim awareness program as directed by the probation officer. Based
        on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an amount
        determined by the probation officer.

9.      The defendant shall pay costs taxed in the amount of $2,885.51, jointly and severally with Mark A. Gustafson.


10.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
        between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall North, 530 U.S. Courthouse, Lincoln,
        Nebraska, (402) 437-5223, within seventy-two (72) hours of release from confinement and, thereafter, as
        directed by the probation officer.
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                                 CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

          $350.00 (paid)



The Court has determined that the defendant does not have the ability to pay interest and it is ordered
that:

        interest requirement is waived.



                                                  FINE

        No fine imposed.



                                    SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $350.00. The special assessment
was paid to the Office of the Clerk, District of Nebraska on September 7, 2007, receipt number 8-5042.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to
pay said sum immediately if he or she has the capacity to do so. The United States of America may
institute civil collection proceedings at any time to satisfy all or any portion of the criminal monetary
penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the criminal
monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments
to satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $100 or 3%
of the defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days
following the defendant’s discharge from incarceration, and continue until the criminal monetary penalty
is paid in full; and (c) the defendant shall be responsible for providing proof of payment to the probation
officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order
of priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically
ordered, all criminal monetary penalty payments, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk of the Court.
Unless otherwise specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111 S.
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18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered
by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
